Case 8:14-cv-00341-JVS-DFM Document 1203 Filed 11/08/16 Page 1 of 4 Page ID
                                #:50326




 1   L. Howard Chen (SBN 257393)
     howard. chen@ klgates.com
 2   Harold H. Davis, Jr. (SBN 235552)
     harold.davis@klgates.com
 3   K&L GATES LLP
     4 Embarcadero Center, Suite 1200
 4   San Francisco, California 94111
     Telephone: 415.882.8200
 5   Facsimile: 412.882.8220
 6   Attorneys for Third Party ZTE Corporation
 7

 8

 9
                                  UNITED STATES DISTRICT COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11
12   TCL COMMUNICATIONS                               Case No. 8:14-CV-00341 JVS-DFMx
     TECHNOLOGY HOLDINGS, LTD, et 1.,                 Case No. 2:15-CV-02370 JVS-DFMx
13
                   Plaintiffs,                        DECLARATION OF YI HU IN SUPPORT
14                                                    OF JOINDER TO THIRD PARTIES'
           vs.                                        MOTION TO SEAL AND COURT'S
15                                                    REQUEST FOR INFORMATION
     TELEFONAKTIEBOLAGET LM                           REGARDING LICENSES (DOCKET NOS.
16   ERICSSON, eta!.,                                 1065, 1069, 1179, 1180, AND 1182)

17                 Defendants.
                                                      Hon. James V. Selna
18

19

20

21

22
23

24

25

26

27

28


                              DECL. OF YI HU ISO THIRD PARTIES' REQUEST
                         CASE NO. 8:14-CV-00341 JVS-DFMX; 2:15-CV-02370 JVS-DFMX
 Case 8:14-cv-00341-JVS-DFM Document 1203 Filed 11/08/16 Page 2 of 4 Page ID
                                 #:50327




 1   I, Yi Hu, declare:
 2           1.         I currently serve as the Head of IPR Litigation for ZTE Corporation ("ZTE"). I

 3   submit this declaration on behalf of third party ZTE Corporation ("ZTE") in support of Third-party

 4   Huawei Technologies Co., Ltd. ("Huawei") and Third-party Samsung Electronics Co., Ltd.

 5   ("Samsung") motions to seal confidential license documents and negotiations and related court

 6   proceedings (Docket Nos. 1065, 1069, 1179, 1180). I also submit this declaration in response to the

 7   Court's order requesting information regarding licenses (Docket No. 1182). I have personal

 8   knowledge of the matters set forth herein. If called as a witness, I could and would competently

 9   testify thereto.
10           2.         ZTE Corporation is a corporation organized and existing under the laws of the

11   People's Republic of China, having a principal place of business in Shenzhen, China.
12           3.         I am an attorney and have been involved in ZTE's licensing of intellectual property. I

13   work at ZTE's headquarters in Shenzhen, Guangdong Province, People's Repbulic of China and am

14   knowledgeable about ZTE's organization and structure as it relates to worldwide Intellectual Property

15   litigation and licensing activities.
16           4.         I have conferred with various members ofZTE's licensing team and reviewed

17   documents related to the Court's November 1, 2016 request for additional information regarding third

18   parties' licenses and licensing negotiations with Plaintiffs ("TCL") and Defendants ("Ericsson") in

19   this action I address the Court's questions below:
20
             •          HAVE ANY OF THE THIRD PARTIES ENTERED INTO A PATENT
21                      LICENSE WITH TCL OR ERICSSON IN THE PAST FIVE YEARS?
             5.         ZTE entered into a confidential patent cross license agreement ("PCLA") with
22
     Telefonaktiebolaget LM Ericsson in 2011. The PCLA is subject to confidentiality provisions which
23
     prevent public disclosure of the details of the agreement.
24
            6.          ZTE has not entered into a patent license agreement with TCL in the past five years.
25

26           •          HAVE ANY OF THE TIDRD PARTIES CONDUCTED OTHER PATENT
                        LICENSE NEGOTIATIONS WITH TCL OR ERICSSON THAT DID NOT
27                      RESULT IN A LICENSE IN THE PAST FIVE YEARS?
28

                                                         1
                                  DECL. OF Yl HU ISO THIRD PARTffiS' REQUEST
                             CASE NO. 8:14-CV-00341 JVS-DFMX; 2:15-CV-02370 JVS-DFMX
Case 8:14-cv-00341-JVS-DFM Document 1203 Filed 11/08/16 Page 3 of 4 Page ID
                                #:50328



                                                      .,
 1           7.      ZTE has engaged in patent license discussions with both TCL and Ericsson in the past

 2   six years. These negotiations are subject to confidentiality provisions which prevent public disclosure

 3   of the details of these discussions.

 4
             •      IF THERE HAVE BEEN ACTUAL LICENSES OR NEGOTIATIONS, DO
 5                  THOSE LICENSES AND/OR NEGOTIATIONS RELATE THE TYPES OF
                    PATENTS AT ISSUE HERE?
 6
             8.     ZTE's negotiations with Ericsson and TCL in the last six years are subject to non-
 7
     disclosure agreements, and I am not permitted to provide details of those discussions. The
 8
     negotiations have related, in part, to cellular standard essential patents.
 9
             •      ANY OTHER INFORMATION WHICH WOULD BE USEFUL TO THE
10                  COURT TO DETERMINE WHETHER DISCLOSURE OF A THIRD PARTY'S
                    TRADE SECRET INFORMATION TO A TCL OR ERICSSON
11                  REPRESENTATIVE PRESENTS A THREAT OF ACTUAL OR POTENTIAL
12                  COMPETITIVE HARM TO THE THIRD PARTY.
             9.     ZTE honors its confidentiality obligations. It would be prejudiced if TCL learned the
13
     terms of ZTE' s patent license agreements with others, including those with Ericsson. The terms of
14
     ZTE's agreement with Ericsson are confidential and commercially sensitive information that ZTE
15
     does not regularly disclose to the public. Disclosure of these confidential terms to TCL could affect
16
     potential negotiations with TCL and provide TCL with information it would not ordinarily be privy to
17
     during licensing negotiations. Consequently, ZTE objects to TCL being present in the courtroom
18
     when ZTE confidential, proprietary, and/or trade secret information is discussed, including, the
19
     details of its agreement and negotiations with Ericsson.
20
             I declare under penalty of perjury under the laws of the United States of America that the
21

22
     for:tng is   tnlf and corfp and that this declaration was executed on this 4th day of November 2016,
23
     at   ,~-{];;1 ~ '.CK-Yl9\
24

25
26

27

28

                                                      2
                               DECL. OF YI HU ISO THIRD PARTIES' REQUEST
                          CASE NO. 8:14-CV-00341 JVS-DFMX; 2:15-CV-02370 JVS-DFMX
Case 8:14-cv-00341-JVS-DFM Document 1203 Filed 11/08/16 Page 4 of 4 Page ID
                                #:50329




 1
                                         By:          lJvvl/.                li

 2
                                               YiHu             l
 3
 4
 5
 6
 7
 8
 9
10
11

12
13

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3
                        DECL. OF YI HU ISO THIRD PARTIES' REQUEST
                   CASE NO. 8:14·CV·00341 JVS·DFMX; 2:15.CV·02370 JVS·DFMX
